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        11.     Within 30 days after the termination of this case, including any appeals, the

Attorneys' Eyes Only Confidential Materials, including all copies thereof, shall be returned to

the attorneys for defendants or, upon their consent, destroyed, and all persons who possessed

such materials shall verify their return or destruction by affidavit furnished to the attorneys who

provided them with the information. This Order shall continue to be binding after the conclusion

of this litigation.

         12.     The terms of this Order shall not apply to any materials or information produced

in discovery in this litigation other than the "Attorneys Eyes Only Confidential Materials" as

defined in paragraph I above.

         13.     The parties may seek modification of this Order by application to the Court for

good cause shown at any time during the course of this litigation.

Dated: Buffalo, New York
October   tz1'-: 2021.
                                                      SO ORDERED:




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